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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA

                -v-                                                 No 12-cr-791 (RJS)
                                                                         ORDER
 SIXTO ORTIZ

                               Supervisee.


RICHARD J. SULLIVAN, Circuit Judge:

         On November 13, 2020, the Court held a status conference to monitor the progress of

Supervisee Sixto Ortiz, who was then receiving in-patient substance abuse treatment at Odyssey

House. At the conference, the Court scheduled a follow-up conference for January 12, 2021 at

11:00 a.m. Unfortunately, Ortiz left the in-patient treatment program without permission on or

about December 11, 2020 and has had no contact with the Probation Office in the weeks since.

Although the Court has issued a warrant for Ortiz’s arrest, Ortiz remains a fugitive. Accordingly,

IT IS HEREBY ORDERED that the status conference set for January 12 is adjourned sine die.


SO ORDERED.

Dated:         January 11, 2021
               New York, New York

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                                             RICHARD J. SULLIVAN
                                             UNITED STATES CIRCUIT JUDGE
                                             Sitting by Designation
